Case 1:05-cr-00163-PLM           ECF No. 691, PageID.2133             Filed 09/20/06      Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:05-cr-00163
                                    )
v.                                  )                  Honorable Robert Holmes Bell
                                    )
DAMOND DSHAN BEAN,                  )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 14, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Damond Dshan Bean entered a plea of guilty to Count One of the Fourth

Superseding Indictment, charging defendant with conspiracy to distribute and possess with intent

to distribute cocaine base, cocaine, heroin and marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1)

and (b)(1)(A), in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force, threats,

or promises, apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.
Case 1:05-cr-00163-PLM          ECF No. 691, PageID.2134            Filed 09/20/06      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count One of the Fourth

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for

review by the District Judge.



Date: September 20, 2006                                /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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